         Case 1:21-cr-00060-CKK Document 37 Filed 04/04/22 Page 1 of 2




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                     :
                                             :
              v.                             :
                                             :      Case No.: 21-CR-60 (CKK)
JESUS D. RIVERA,                             :
                                             :
              Defendant.                     :


                                NOTICE OF APPEARANCE

       The United States, by and through its attorney, the United States Attorney for the District

of Columbia, hereby informs the Court that Trial Attorney Barry K. Disney is entering his

appearance in the above-captioned matter as counsel for the United States.


                                             Respectfully submitted,



DATED: April 4, 2022                         MATTHEW M. GRAVES
                                             UNITED STATES ATTORNEY
                                             D.C. Bar No. 481052

                                     By:     _/s/ BARRY K. DISNEY
                                             Barry K. Disney
                                             Trial Attorney, Capital Case Section
                                             Detailee – Capitol Siege Division
                                             Kansas Bar No. 13284
                                             U.S. Department of Justice
                                             1331 F. St. NW, Suite 6000
                                             Washington, D.C. 20005
                                             202-305-4367 (office)
                                             202-924-4861 (cell)
                                             Barry.Disney@usdoj.gov
          Case 1:21-cr-00060-CKK Document 37 Filed 04/04/22 Page 2 of 2




                                CERTIFICATE OF SERVICE

       On this 4th day of April 2022, a copy of the foregoing was served upon all parties listed on
the Electronic Case Filing (ECF) System.

                                                     _/s/ BARRY K. DISNEY
                                                     BARRY K. DISNEY
                                                     Trial Attorney
